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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


DONNA MARIE HOLLAND et al., )
                            )
            Plaintiffs,     )
                            )
      v.                    ) CIVIL ACTION NO. 01-1924 (CKK)
                            )
THE ISLAMIC REPUBLIC        )
      OF IRAN, et al.,      )
                            )
            Defendants.     )

                      MOTION FOR ENTRY OF FINAL JUDGMENT

       Plaintiffs hereby move for entry of final judgment in the above-captioned matter. This

Court has previously entered an Order awarding judgment in favor of plaintiff Donna Holland in

the amount of $620,743.00 on Count I of plaintiffs’ First Amended Complaint (Wrongful Death),

and in favor of plaintiffs James and Chad Holland in the amount of $310,371.50 each on Count I

of Plaintiffs’ First Amended Complaint (Wrongful Death) and in the amount of $12,000,000

each on Count II of Plaintiffs’ First Amended Complaint (Loss of Parental Consortium). Order

of October 31, 2005, at 1.

       However, the Court conditioned the entry of the judgment therein on plaintiffs’

subsequent filing of a Second Amended Complaint correcting certain pleading deficiencies

identified by the Court in its Memorandum Opinion released the same day. The Court’s Order

required the Amendments to be filed on or before November 14, 2005. Order at 2. On

November 11, 2005, plaintiffs filed the requested Second Amended Complaint addressing the

pleading deficiencies identified. Accordingly, plaintiffs now move for entry of a non-contingent

final judgment against defendants the Islamic Republic of Iran, the Iranian Ministry of
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Information and Security (“MOIS”), and the Iranian Islamic Revolutionary Guard Corps

(“IRGC”), jointly and severally.

                               MEMORANDUM IN SUPPORT

       Pursuant to Rule 58(d), Fed. R. Civ. P., any party can request entry of judgment as a

separate document. Although the Court entered an Order on October 31, 2005, setting forth its

entry of judgment as described above, the entry of judgment pursuant to this Order was

conditioned on the subsequent amendment of plaintiffs’ First Amended Complaint to correct

pleading deficiencies. Indeed, the Court’s Memorandum Opinion expressly noted that the

judgment entered would be contingent on plaintiffs’ filing of a Second Amended Complaint that

adequately identified their causes of action and the legal bases underlying those causes of action.

Opinion at 59.

       Within the time provided, plaintiffs filed a Second Amended Complaint which corrected

the pleading deficiencies identified. The Second Amended Complaint pleads causes of action

under Kentucky law for wrongful death on behalf of Donna Holland, James Holland, and Chad

Holland. Second Amended Complaint at ¶¶38-39. It also pleads a cause of action under

Kentucky law for loss of consortium on behalf of James Holland and Chad Holland. Second

Amended Complaint at ¶¶ 47-48. The Second Amended Complaint also clarified that plaintiffs

stated claims under any and all substantive law made applicable by 28 U.S.C. § 1606, and that

plaintiffs Donna, James, and Chad Holland were residents and domiciliaries of Kentucky at the

time of the events complained of. See ¶¶ 2, 4, 5, and 7.

       Accordingly, plaintiffs respectfully request that the Court now enter a non-contingent

final judgment against defendants the Islamic Republic of Iran, the Iranian Ministry of


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Information and Security (“MOIS”), and the Iranian Islamic Revolutionary Guard Corps

(“IRGC”).


                                                  Respectfully submitted,


                                                  ________________________
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January 27, 2006




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